 1                                                                    Honorable Frederick P. Corbit
                                                                                         Chapter 11
 2                                                             Location: 904 West Riverside Avenue
                                                                                          Suite 304
 3
                                                                               Spokane, WA 99201
 4

 5
                                 UNITED STATES BANKRUPTCY COURT
 6                          EASTERN DISTRICT OF WASHINGTON AT SPOKANE
 7    In re:                                              NO. 18-03197
 8    GIGA WATT INC.,                                     AMENDED NOTICE OF EXECUTIVE
                                                          FLIGHT, INC.’S MOTION TO COMPEL
 9                                      Debtor.
                                                          REJECTION OF UNEXPIRED
10                                                        COMMERCIAL REAL ESTATE LEASE

11             Landlord, EXECUTIVE FLIGHT, INC., has filed papers with the Court seeking to

12    compel the Chapter 11 Trustee to reject the Debtor’s unexpired non-residential real property

13    lease for One Campbell Parkway, East Wenatchee, WA 98802.

14             Your rights may be affected. You should read these papers carefully and discuss

15    them with your attorney, if you have one in this bankruptcy case. (If you do not have an

16    attorney, you may wish to consult one).

17                         THE MOTION WILL BE SET FOR HEARING AS FOLLOWS:

18
                           JUDGE:                   The Honorable Frederick P. Corbit
19
                           DATE:                    Requested for December 17, 2018 at 2:00 p.m.
20

21                         RESPONSE DATE:           Requested for December 12, 2018 at 2:00 p.m.

22                         PLACE:                   904 West Riverside Avenue Suite 304
                                                    Spokane, WA 99201
23
                           MEET ME TELEPHONIC:              1-509-353-3183
24
               IF YOU OPPOSE the Motion, you must, on or before the date set by the Court, serve
25
      a written response on the undersigned and file the original response with the Clerk of the
26

     AMENDED NOTICE OF EXECUTIVE FLIGHT, INC.’S MOTION CARNEY BADLEY SPELLMAN, P.S.
     TO COMPEL REJECTION OF UNEXPIRED COMMERCIAL REAL      701 Fifth Avenue, Suite 3600
     ESTATE LEASE – 1                                        Seattle, WA 98104-7010
                                                                             (206) 622-8020
     EXE001-0005 5605402

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 1
      United States Bankruptcy Court, PO Box 2164, Spokane, WA 99210-2164. Any replies will
 2
      be due by the date set by the Court.
 3
               IF NO RESPONSE IS FILED BY THE RESPONSE DATE, the Court may, in its
 4
      discretion, grant the Motion prior to the hearing WITHOUT FURTHER NOTICE.
 5

 6
               DATED this 7th day of December, 2018.
 7
                                                 CARNEY BADLEY SPELLMAN, P.S.
 8

 9                                               By /s/Scott R. Weaver
                                                    Scott R. Weaver, WSBA #29267
10                                                  weaver@carneylaw.com
                                                    701 Fifth Avenue, Suite 3600
11                                                  Seattle, WA 98104-7010
                                                    Phone: (206) 622-8020
12                                                  Fax: (206) 467-8215
13                                               Attorneys for Executive Flight, Inc.

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     AMENDED NOTICE OF EXECUTIVE FLIGHT, INC.’S MOTION CARNEY BADLEY SPELLMAN, P.S.
     TO COMPEL REJECTION OF UNEXPIRED COMMERCIAL REAL      701 Fifth Avenue, Suite 3600
     ESTATE LEASE – 2                                        Seattle, WA 98104-7010
                                                                            (206) 622-8020
     EXE001-0005 5605402

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